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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTM CT OF FLORIDA
                        CASE NO .15-14046-CR-M ARTlNEZ/LYNCH

  UNITED STATES OF AM ERICA

         Plaintiff,
  VS.

  FELISHA M ICHELLE LEITNER,

         Defendant.
                                /

        O R DER AD O PTIN G M AG ISTM TE'S R EPO RT A N D R EC O M M EN D ATIO N

        THIS CAUSE came btforetheCourtupon theOrderofReferencefrom theDistrict
  Courtto conducta ChangeofPleabeforea M agistrateJudge.
        THE M ATTER wasreferredto ChiefM agistrate JudgeFrankJ.Lynch Jr,on October
  14,2015.A ReportandRecommendationwastsled onOctober20,2015,(ECFNo.268j,
 recomm ending thattheDefendant'spleaofguilty beaccepted. During theChange ofPlea
 hearing,theM agistrateJudgequestioned theDefendantregarding herwaiverofappealin which
 theDefendantacknowledged on the record thatshewasw aiving orgiving up a11rightsto appeal
 any sentenceimposed bytheDistrictCourtin thiscaseexceptunderthe lim ited circum stances
 contained within the appealwaiverprovision from thtPleaAgreement.

        Thepm ieswereaffordedtheopportunitytofileobjectionstotheReportand
 Recom mendation,howevernonewerefiled.The Courthasreviewed the entire fileand record

 andnotesthatnoobjectionshavebeen sled.Aftercarefulconsideration,theCourtaffinnsand
 adoptstheReportand Recom mendation.Accordingly,itishereby:
        ORDERED AND ADJUDGED thattheReportandRecommendation (ECFNo.2681of
 United StatesM agistrateJudge Frartk J.Lynch Jr,isherebyAFFIRM ED and ADOPTED in its
 entirety.
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         TheDefendantisadjudgedguiltytoCountOneofthelndictmentwhichchargesthe
  Defendantwith conspiracyto distributeandpossesswith intenttodistributefifty(50)gramsor
  moreofmethnmphetamine,inviolationofTitle21,United StatesCode,Sections841(a)(1),
  841(b)(1)(A)and846.
          DONEANDORDERED in ChambersatM iam i,Florida,this 1dayofNovember,
  2015.

                                                         t
                                              JO E     M A RTIN Z
                                              U N IT   STA TES D ISTRI T JU DG E



  Copied:Hon.M agistrateLynch Jr.
  A11CounselOfRecord
  U,S.Probation Office
